Case 1:17-bk-12408-MB   Doc 160 Filed 10/27/17 Entered 10/30/17 15:39:12   Desc
                         Main Document     Page 1 of 6
Case 1:17-bk-12408-MB   Doc 160 Filed 10/27/17 Entered 10/30/17 15:39:12   Desc
                         Main Document     Page 2 of 6
Case 1:17-bk-12408-MB   Doc 160 Filed 10/27/17 Entered 10/30/17 15:39:12   Desc
                         Main Document     Page 3 of 6
Case 1:17-bk-12408-MB   Doc 160 Filed 10/27/17 Entered 10/30/17 15:39:12   Desc
                         Main Document     Page 4 of 6
Case 1:17-bk-12408-MB   Doc 160 Filed 10/27/17 Entered 10/30/17 15:39:12   Desc
                         Main Document     Page 5 of 6
Case 1:17-bk-12408-MB   Doc 160 Filed 10/27/17 Entered 10/30/17 15:39:12   Desc
                         Main Document     Page 6 of 6
